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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  JAMES M. MALONEY,

                            Plaintiff,
          -against-                                             MEMORANDUM & ORDER
                                                                  03-CV-786 (PKC)(AYS)
  MADELINE SINGAS, in her official capacity
  as Acting District Attorney of Nassau County,

                             Defendant.
  ----------------------------------------------------------x
  PAMELA K. CHEN, United States District Judge:

          On July 23, 2017, the Court issued an order stating, inter alia, that “in keeping with the

  Second Circuit’s reading of [District of Columbia v. Heller, 554 U.S. 570 (2008)] a presumption

  in favor of Second Amendment protection applies, and the government, i.e., Nassau County, has

  the burden of producing evidence that nunchakus are not ‘in common use’ or not ‘typically

  possessed by law-abiding citizens for lawful purposes.’” (Dkt. 188, at 4 (quoting New York State

  Rifle & Pistol Ass’n, Inc. v. Cuomo (“NYSRPA”), 804 F.3d 242, 257 n.73 (2d Cir. 2015) (emphasis

  added).) 1 The Court now sua sponte amends its prior order to make clear that Defendant Nassau

  County’s burden is not an either-or test, but rather, Defendant must prove, at a minimum, that

  nunchakus are “not typically possessed by law-abiding citizens for lawful purposes”, and not

  simply that they are not in common use. Indeed, whether nunchakus are in common use is

  ultimately irrelevant.




          1
           See also Kolbe v. Hogan, 849 F.3d 114, 131 n.9 (4th Cir.), cert. denied, 138 S. Ct. 469
  (2017) (“Although the Heller Court invoked Blackstone for the proposition that ‘dangerous and
  unusual’ weapons have historically been prohibited, Blackstone referred to the crime of carrying
  ‘dangerous or unusual weapons.’”) (emphasis in original).
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         In its prior order, the Court focused on NYSRPA’s statement that the burden of proof

  regarding the constitutionality of the nunchakus ban was on Defendant and not Plaintiff. (Dkt.

  188.) However, after delving into all of the available Second Amendment jurisprudence case law,

  much of which is outside of this Circuit and much of which is opaque and contradictory, the Court

  believes that many courts, including the Second Circuit in NYSRPA, have ultimately concluded

  that the issue of “common use” is irrelevant to the Court’s analysis as to whether a weapon is

  outside of the Second Amendment’s protection, and that the only relevant inquiry is whether the

  weapon at issue is typically possessed for a lawful purpose.

         The overwhelming majority of courts that have addressed Second Amendment challenges

  have found that the weapon’s “typical possession” for an unlawful purpose, in itself, is sufficient

  to deny Second Amendment protection. See, e.g., Kolbe, 849 F.3d at 131 (noting that even if the

  majority accepted the dissent’s argument that assault weapons are popular, the Court can still “stop

  those weapons from being used again and again to perpetrate mass slaughters”); Friedman v. City

  of Highland Park, Illinois, 784 F.3d 406, 408-09 (7th Cir. 2015) (noting that “during Prohibition

  the Thompson submachine gun (the ‘Tommy gun’) was all too common in Chicago, but that

  popularity didn’t give it a constitutional immunity from the federal prohibition enacted in 1934”);

  United States v. Hatfield, 376 F. App’x 706, 707 (9th Cir. 2010) (holding that “modern sawed-off

  shotguns are not typically possessed for lawful purposes” and, therefore, are not entitled to Second

  Amendment protection); United States v. Marzzarella, 614 F.3d 85, 95 (3d Cir. 2010) (“It is

  arguably possible to extend the exception for dangerous and unusual weapons to cover unmarked

  firearms. . . . Because a firearm with a serial number is equally effective as a firearm without one,

  there would appear to be no compelling reason why a law-abiding citizen would prefer an

  unmarked firearm. These weapons would then have value primarily for persons seeking to use




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  them for illicit purposes.”); United States v. Tagg, 572 F.3d 1320, 1326 & n.5 (11th Cir. 2009)

  (“[W]e conclude that the pipe bombs at issue were not protected by the Second Amendment.

  Unlike the handguns in Heller, pipe bombs are not typically possessed by law-abiding citizens for

  lawful purposes.”) (collecting cases); Worman v. Healey, 293 F. Supp. 3d 251, 265-66 (D. Mass.

  2018) (holding that “AR-15-type rifles . . . fall outside the scope of the Second Amendment” even

  though they are “an extraordinarily popular firearm” because “[t]he features of a military style rifle

  are designed and intended to be particularly suitable for combat rather than sporting applications”)

  (citation and internal quotation marks omitted); United States v. Barbeau, No. 15-CR-391 (RAJ),

  2016 WL 1046093, at *3 (W.D. Wash. Mar. 16, 2016) (“[R]estrictions on short-barreled weapons

  are permissible, particularly given that Congress specifically found that short-barreled rifles are

  primarily weapons of war and have no appropriate sporting use or use for personal protection.”)

  (citation and internal quotation marks omitted).

         This conclusion is supported by NYSRPA, in which the Second Circuit found that the

  assault weapons and large-capacity magazines at issue were “in common use”, but stated that it

  “must next determine whether assault weapons and large-capacity magazines are ‘typically

  possessed by law-abiding citizens for lawful purposes.’” 804 F.3d at 255-56 (emphasis added).

  This reasoning makes clear that a weapon being “in common use” is not enough to grant Second

  Amendment protection; otherwise, the NYSRPA court could have concluded after its “common

  use” analysis that the weapons at issue were protected by the Second Amendment. This reasoning

  also implies, by contrast, that a weapon’s “typical possession” for an unlawful purpose, standing

  alone, can be enough to undermine Second Amendment protection. 2 Moreover, such reasoning is



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          In his concurrence in Caetano v. Massachusetts, Justice Alito stated that the test for
  whether a weapon falls within the scope of the Second Amendment is “a conjunctive test: A
  weapon may not be banned unless it is both dangerous and unusual.” 136 S. Ct. 1027, 1031 (2016)


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  consistent with the Second Amendment’s emphasis on, and “the historical understanding” that,

  “the right to keep and bear arms . . . is for lawful purposes.” United States v. Greeno, 679 F.3d

  510, 520 (6th Cir. 2012) (emphasis in original). 3

         In addition, the Court has not identified a single case in which a court has found that a

  bearable arm is outside of the scope of the Second Amendment simply because it is not in

  “common use”. See, e.g., Friedman, 784 F.3d at 409 (“[R]elying on how common a weapon is at

  the time of litigation would be circular to boot. [For example,] [m]achine guns aren’t commonly

  owned for lawful purposes today because they are illegal. . . . Yet it would be absurd to say that

  the reason why a particular weapon can be banned is that there is a statute banning it, so that it

  isn’t commonly owned. A law’s existence can’t be the source of its own constitutional validity.”);




  (Alito, J., concurring) (emphasis in original). In NYSRPA, however, which preceded Caetano, the
  Second Circuit only considered the conjunctive test of whether the weapons were “dangerous and
  unusual” in the context of its “typical possession” analysis. 804 F.3d at 256 (finding that the Court
  “must also consider more broadly whether the weapon is ‘dangerous and unusual’ in the hands of
  law-abiding civilians”). By contrast, some courts have used “unusual” as equivalent to “in
  common use”, and “dangerous” as shorthand for “typical possession.” See, e.g., Fyock v.
  Sunnyvale, 779 F.3d 991 (9th Cir. 2015).
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            Some courts, however, have implied that the party bearing the burden must demonstrate
  both that the weapon is not in “common use” and its “typical possession” is for an unlawful
  purpose. See, e.g., Hollis v. Lynch, 827 F.3d 436, 447-51 (5th Cir. 2016) (finding that machineguns
  are “dangerous”, and then proceeding to analyze whether they are “usual”); Fyock v. Sunnyvale,
  779 F.3d 991, 998 (9th Cir. 2015) (finding regulations restricting possession of certain types of
  large-capacity magazines burdened conduct falling within the scope of the Second Amendment
  where the government demonstrated that the magazines were “dangerous” but not “unusual”);
  United States v. Henry, 688 F.3d 637, 640 (9th Cir. 2012) (holding that machine gun possession is
  not entitled to Second Amendment protection because it is “likely to cause serious bodily harm”
  and “unusual because . . . [o]utside of a few government-related uses, machine guns largely exist
  on the black market”); United States v. McCartney, 357 F. App’x 73, 76 (9th Cir. 2009) (“The
  weapons involved in this case are dangerous and unusual [and therefore, not protected by the
  Second Amendment]. [Defendant’s] own expert testified that the machine gun is a dangerous
  weapon in light of the fact that it devastated entire populations in World War I. And the possession
  of a machine gun by a private citizen is quite unusual in the United States.”) (internal quotation
  marks omitted).


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  Fyock v. City of Sunnyvale, 25 F. Supp. 3d 1267, 1276 (N.D. Cal. 2014), aff’d sub nom. Fyock v.

  Sunnyvale, 779 F.3d 991 (9th Cir. 2015) (“The fact that few people will require a particular firearm

  to effectively defend themselves . . . should be celebrated, and not seen as a reason to except [them]

  from Second Amendment protection.”). This principle comports with the Second Circuit’s finding

  in NYSRPA that “the Second Amendment extends, prima facie, to all instruments that constitute

  bearable arms, not just to a small subset.” 804 F.3d at 255-56 (citation and internal quotation

  marks omitted) (emphasis in original).

         Thus, the Court clarifies the applicable burden of proof and relevant test in this matter: it

  will not be enough for Defendant Nassau County to simply prove that nunchakus are “unusual” in

  order to rebut the prima facie presumption of Second Amendment protection; Defendant must

  show that the “typical possession” of nunchakus is for an unlawful purpose.

                                            CONCLUSION

         In light of its Amended Order, the parties may submit supplemental letters, no longer than

  five pages, by October 22, 2018, addressing whether Defendant has met its burden that nunchakus

  are “not typically possessed by law-abiding citizens for lawful purposes”. The Court shall hold

  oral argument on December 5, 2018 at 11:00 a.m. in Courtroom 4F North.

                                                                SO ORDERED.


                                                                /s/Pamela K. Chen
                                                                PAMELA K. CHEN
                                                                United States District Judge


  Dated: Brooklyn, New York
         October 1, 2018




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